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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

RANDOLPH WILLIAMS III

               Plaintiff,                            CIV. NO. 2:19-CV-12841-GGG-DMD
                                                     Consolidated with:
       v.                                            CIV. NO. 2:19-CV-14234
ALEJANDRO MAYORKAS, SECRETARY,                       This Document Pertains to No. 19-14234
DEPARTMENT OF HOMELAND
SECURITY

               Defendant.


                     PLAINTIFF’S RESPONSE IN OPPOSITION
               TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       For the following reasons, plaintiff Jon P. Joyner partially opposes the motion for summary

judgment (Doc. 109) filed by defendant Alejandro Mayorkas in his official capacity as Secretary

of the Department of Homeland Security and representative of the United States Border Patrol.

Specifically, Mr. Joyner opposes summary judgment on the following claim:

       Under Title VII, disparate-treatment discrimination based on race concerning Mr. Joyner’s

       non-selection for the position of Division Chief of New Orleans Sector on or about October

       14, 2018 (advertised via announcement no. USBP-IMP-10168092-JRB) (the “Division

       Chief” claim), as asserted by plaintiff in his complaint, Doc. 1 at ¶¶ 106-119.

Mr. Joyner does not oppose summary judgment on his ancillary claims for disparate-treatment

retaliation (see Doc. 1 at ¶¶ 120-124).

                             SUMMARY OF THE OPPOSITION

       This case has been ordered consolidated with the lead case, Williams v. Mayorkas, No.

2:19-CV-12841 (see Doc. 95). The plaintiff here, Jon P. Joyner, is a former U.S. Marine who

joined the United States Border Patrol in 1996 after his honorable discharge and then successfully



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served as a USBP agent until his retirement in August 2021. The plaintiff in the lead consolidated

case is Randy Williams, himself a veteran of the U.S. Air Force who continues to serve as a USBP

agent today. At the relevant time of this case, both men held the GS-13 supervisory rank of “Patrol

Agent in Charge” of different USBP stations within USBP’s “New Orleans Sector” – the largest

organizational unit for the Southern Coastal United States outside of USBP’s national headquarters

in Washington D.C.

       Mr. Joyner and Mr. Williams are both black men. In April 2018, both applied for the next

promotion in their career progression, the “Division Chief” of New Orleans Sector, which is a

supervisory GS-14 position. The man who would select someone to fill that job was Gregory

Bovino (white), who USBP headquarters had just reassigned to New Orleans Sector as its Chief

Patrol Agent a few weeks before Mr. Joyner and Mr. Williams had applied for the open position.

       For all practical purposes, the very first decision that Mr. Bovino made after he entered on

duty was to pass over Mr. Joyner and Mr. Williams for the Division Chief position and, instead,

select an objectively less qualified comparator, a man named Christopher Bullock (white). The

facts of Mr. Joyner’s prima facie case of non-selection, along with Mr. Bovino’s pretextual reasons

justifying his selection, are explored in depth below.

       But these facts will already be very familiar to the Court, because USBP already filed a

full-throated motion for summary judgement to dismiss Mr. Williams’s identical race-

discrimination claim over a year ago in December 2020 (see Doc. 61). Mr. Williams timely

opposed USBP’s motion by submitting 36-pages of opposition briefing and 25 separate exhibits

totaling 361 pages of documentary and deposition-testimony evidence. This Court denied USBP’s

motion for summary judgment on September 29, 2021 (see Doc. 94).




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       Apparently undeterred, USBP now files a virtually identical motion for summary judgment

against Mr. Joyner arguing his identical race-discrimination claim should be dismissed even

though this Court has already ruled that Mr. Williams’s consolidated claim survives and is entitled

to jury trial. USBP offers no explanation in its motion for summary judgment for why it has

engaged in this wasteful litigation. Nor does USBP appear to even acknowledge in its motion that

the Court already rejected USBP’s arguments in the Williams case.

       Nevertheless, in this case, on this motion, Mr. Joyner easily makes his prima facie case of

race-based discrimination. Mr. Joyner has produced at least as much evidence of pretext as Mr.

Williams did more than a year ago when this Court denied USBP’s identical motion for summary

judgment. Moreover, Mr. Joyner brings to the table several pieces of evidence which bolsters his

case even beyond what this Court already determined was sufficient in Williams to survive

summary judgment.

       For all these reasons, Mr. Joyner respectfully asks the Court to deny defendant’s motion

for summary judgment with respect to plaintiff’s disparate-treatment discrimination claim.

Instead, Mr. Joyner asks that this consolidated case be permitted to go to jury trial on its scheduled

date of May 23, 2022.

                                       MATERIAL FACTS

       In this consolidated case, plaintiff Jon Joyner incorporates here all facts recited in plaintiff

Randolph Williams’s Rule 56.2 Counter-Statement of Disputed Material Facts (Doc. 75-1 (a copy

of which is attached as Exhibit W)) and Response in Opposition to Defendant’s Motions for

Summary Judgment (Doc. 75). However, for ease of reference, Mr. Joyner summarizes here the

most important facts of the case – including the additional material facts adduced during Mr.




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Joyner’s discovery period after the Court denied USBP’s prior motion for summary judgment in

Williams.

A.      USBP’s Leadership Structure and Mr. Joyner’s Work History

        Jon Joyner is a black man. He is married and, today, lives with his wife and children in

Arizona. Mr. Joyner is a veteran of the U.S. Marine Corps and worked as a Border Patrol agent

with USBP from 1996 until his retirement in 2021.1 This case centers on Mr. Joyner’s 2018

application and non-selection for the position of Division Chief of USBP’s “New Orleans” Sector

located in New Orleans.2 During that 2017-2018 time period, Mr. Joyner was given the highest

possible performance rating on his annual performance review (“achieved excellence”).3 At the

time, Mr. Joyner had never been formally disciplined for any reason by any supervisor in his entire

career.4

        The leadership structure of New Orleans Sector is the same as for all of USBP’s other

sectors.5 The top decision-maker is the Sector’s Chief Patrol Agent (“CPA”).6 The executive

officer who assists the CPA is the Deputy Chief Patrol Agent (“DCPA”).7 Third in command is

the Division Chief of Law Enforcement Operations, which is one of three division chiefs assigned

to each sector (the other Division Chiefs having responsibility for “operational support” and

“mission readiness”).8 Reporting to the Division Chief of Law Enforcement Operations is the

Patrol Agent in Charge (“PAIC”) of each of the “Stations” within the Sector.9 Each Station



1
  See Plaintiff’s Counter-Statement of Disputed Material Facts (hereinafter “CSDMF”) at ¶¶ 1-3.
2
  See CSDMF at ¶¶ 5-8.
3
  See CSDMF at ¶ 18.
4
  See CSDMF at ¶ 77.
5
  See Doc. 1 at ¶¶ 31-33.
6
  Doc. 1 at ¶ 34.
7
  Doc. 1 at ¶ 35.
8
  See Doc. 1 at ¶ 36.
9
  See Doc. 1 at ¶ 44.


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represents the front-line law enforcement unit for that particular, geographic area.10 Visually, the

structure of USBP’s sector headquarters looks like this:

                                            Chief Patrol Officer
                                                      |
                                                      |
               - - - - - - - - - - - - - Deputy Chief Patrol Officer - - - - - - - - - - - - - -
                |                                     |                                          |
                |                                     |                                          |
  Division Chief Operations               Division Chief Programs            Division Chief Readiness
                |
                |
Patrol Agent in Charge (each Station)

        During his career, Mr. Joyner served in many supervisory positions throughout USBP on

multiple US borders.11 From March 2018 through approximately April 2020, Mr. Joyner served

as the GS-13 PAIC of Gulfport Station located in Gulfport, MS within New Orleans Sector, and

was responsible for all front-line law enforcement actions throughout Mississippi.12 From August

2017 to March 2018, Mr. Joyner served as the GS-14 Division Chief of Law Enforcement

Operations for “Ramey” Sector located in Puerto Rico and was responsible for all interdiction and

enforcement actions throughout Puerto Rico, the U.S. Virgin Islands, and approximately 6,000

square miles of land and water area.13 From November 2016 through August 2017, Mr. Joyner

served as the GS-13 PAIC of Ramey Station within Ramey Sector, as the Station’s front-line law

enforcement officer for all of Puerto Rico and the Virgin Islands.14 From September 2012 through




10
   See Doc. 1 at ¶ 43.
11
   Within USBP, an agent’s pay based on the familiar “General Schedule” scale is not dependent solely on
   rank, but on rank plus the number of agents being supervised in the position. Thus, for instance, Mr.
   Joyner was paid as a GS-14 employee when he was Watch Commander of Tucson Station in Arizona
   because of the larger number of employees he supervised, compared to Mr. Joyner’s pay as a GS-13
   PAIC of Gulfport station, which is a higher ranking position within USBP, but one that happens to
   supervise fewer employees.
12
   See CSDMF at ¶ 27.
13
   See CSDMF at ¶ 22.
14
   See CSDMF at ¶ 21.


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November 2016, Mr. Joyner served as the GS-14 Watch Commander for the Tucson Border Patrol

Station, supervising over 120 USBP agents and supervisors, in one of the busiest geographic

territories within the USBP.15 During that same time, Mr. Joyner also served as the Acting

Assistant PAIC of Tucson Station, supervising over 600 agents and other supervisory personnel

on the Southwest border.16

        Fast-forwarding to 2018: Hurricane Maria severely impacted Puerto Rico in late 2017, and

Mr. Joyner took a position as the PAIC of Gulfport Station in Mississippi to relocate his wife and

children from the disaster area.17 In early 2018, the CPA of New Orleans Sector – a man named

John Richards – had just retired.18 The Deputy CPA at the time – a man named Joe Banco – began

serving as the Acting CPA.19

        On or about March 30, 2018, CBP announced a permanent position for Division Chief of

Programs (GS-1896-14) via USAJobs.com. 20 Mr. Joyner applied for the position.21 Mr. Joyner

was determined to be “qualified” for the Division Chief position sufficient that his name was

referred to New Orleans Sector leadership for consideration.22

        The comparator in this case who was ultimately selected for the Division Chief position,

Christopher Bullock (white), did not competitively apply for the position through the competitive

announcement.23




15
   See CSDMF at ¶ 26.
16
   See CSDMF at ¶ 21.
17
   See Doc. 1 at ¶¶ 57-63.
18
   See CSDMF at ¶ 31.
19
   See CSDMF at ¶ 31.
20
   See CSDMF at ¶ 5.
21
   See CSDMF at ¶ 6.
22
   Certificate of Eligibles for Division Chief Announcement (a copy of which is attached as Exhibit V).
23
   See CSDMF at ¶ 41.


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B.     Mr. Joyner and Mr. Williams Are Selected to Interview for Division Chief

       At the time Mr. Joyner applied for the Division Chief vacancy, Acting CPA Banco utilized

a “scoring matrix” to compare the candidates who had applied for the promotion against each

other.24 Based on that scoring, six candidates were eligible for interview, including Mr. Joyner.25

The interviewees were Jon Joyner (black), Mr. Williams (black), Jose Rodriguez (Hispanic),

Samuel Rodriguez (Hispanic), Robert Rivet (white), and Eric Billings (white).26

       Because the comparator in this case, Christopher Bullock, did not competitively apply for

the position through the competitive announcement, he was never scored against Mr. Joyner or

Mr. Williams (or any other of the candidates who were selected to be interviewed).

C.     Objective Scoring Proves Mr. Joyner Was Clearly More Qualified than Mr. Bullock

       USBP utilizes a particular type of scoring matrix for promotions at the Headquarters level

known as a “Kepner-Tregoe Exercise.”27 This particular scoring matrix was used by a later Acting

CPA of New Orleans Sector – a man named Michael Harrison who served after USBP relocated

Mr. Bovino away from New Orleans Sector in the wake of these lawsuits – to compare candidates

for a subsequent Division Chief position at New Orleans Sector that was announced in February

2020.28 During depositions in this case, Mr. Bullock scored himself on the Exercise.29 Bullock

awarded himself only 22 points.30 For comparison purposes, Mr. Harrison scored Mr. Williams

during his deposition.31 Mr. Harrison awarded Mr. Williams 29 points.32 Just like Mr. Bullock


24
    See CSDMF at ¶ 49.
25
    See CSDMF at ¶¶ 79-80.
26
    Scoring Matrix used by Banco and Pedregon for Division Chief Interviewee Selection (a copy of which
    is attached as Exhibit S).
27
    See CSDMF at ¶ 81.
28
   See Exhibit W, Doc. 75-1 at ¶ 91.
29
    See Exhibit W, Doc. 75-1 at ¶ 93.
30
   See Exhibit W, Doc. 75-1 at ¶ 93.
31
   See Exhibit W, Doc. 75-1 at ¶ 92.
32
   See Exhibit W, Doc. 75-1 at ¶ 92.


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did, Mr. Joyner also scored himself on the Exercise for purposes of this case.33 Based on his

objective work history as of 2018, Mr. Joyner scored 41 points – nearly double that of Mr.

Bullock.34 Again, as the Exercise is objective in nature, and awards points for past and current

work history.

       Bizarrely, despite the fact that Mr. Bullock had zero permanent experience at the PAIC

level, as a Division Chief, in any other position at a Sector Headquarters, or on the Southern or

Coastal Borders, Mr. Bovino testified during his deposition he believed Mr. Bullock was the most

qualified agent throughout the entire USBP for the job.35 But, when pressed during deposition,

Mr. Bovino admitted that he did not know who the best qualified candidate for the Division Chief

position was because he did not participate in the original process to select the interviewees for the

Division Chief position.36 When questioned during his own deposition, Mr. Bullock gave a more

honest answer: he did not know if he was the most qualified man for the job or not, and he admitted

Mr. Joyner and Mr. Williams may have been more qualified.37 In fact, Mr. Bullock testified he

only applied for the job because Mr. Bovino asked him to do so.38

       Scoring and points aside, it is undisputed that Mr. Joyner held higher seniority positions

than Mr. Bullock at the time of the Division Chief announcement in the case. Mr. Joyner was the

current, permanently assigned Patrol Agent in Charge of Gulfport Station.39 Mr. Bullock had never

held a permanent PAIC position of a Station before and had only served as a Deputy PAIC.40 Mr.


33
   See CSDMF at ¶ 85.
34
   See CSDMF at ¶ 85.
35
    Deposition of Gregory Bovino in Williams, November 30, 2020, at 173:9-174:10 (excerpts of which are
    attached as Exhibit I).
36
    Bovino Dep. in Williams, at 92:2-19.
37
    Deposition of Christopher Bullock, November 23, 2020, at 183:3-21 (excerpts of which are attached as
    Exhibit L).
38
   Bullock Dep. at 50:2-52:14.
39
   See CSDMF at ¶ 7.
40
   See Bullock’s Memorandum and Resume, (a copy of which is attached as Exhibit P).


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Joyner was the former Division Chief of Operations at Ramey Sector.41 Mr. Bullock had zero

experience whatsoever as a Division Chief or at a Sector Headquarters in any other capacity.42 Mr.

Joyner had served tours of duty on three different US borders – the Southwest, Southern, and

Coastal borders43 – whereas Mr. Bullock had only served on the Southwest border.44 Otherwise,

the men had roughly similar backgrounds: neither held a college degree, and neither held any

positions permanently assigned to USBP headquarters in Washington.45

D.        Mr. Bovino Misrepresented His Reasons for Cancelling the Division Chief Posting

          Emails produced during discovery prove that Mr. Bovino recruited Mr. Bullock for the

Division Chief position before he even entered on duty as the Chief Patrol Agent. On May 7, Mr.

Bullock emailed his wife about his plans to apply for the job (although Mr. Bullock would not do

so for another few weeks).46 The next day, on May 8, Acting CPA Banco asked Mr. Bovino if he

would like to participate in the interview process for Mr. Joyner, Mr. Williams, and the other

candidates who had already applied for the job.47 Mr. Bovino immediately asked Mr. Banco to

delay interviews until a later date.48 Mr. Banco indicated he was reticent to delay interviews for

the position, and so on May 9, Mr. Bovino contacted the third-highest ranking USBP official

within the organization, the “Chief of Law Enforcement Operations Directorate” at Headquarters,

to receive permission to cancel the application.49 The Directorate Chief at the time was a man



41
     See CSDMF at ¶ 22.
42
     See Exhibit P, Bullock’s Memorandum and Resume.
43
     See CSDMF at ¶ 21.
44
     See Exhibit P, Bullock’s Memorandum and Resume.
45
     See Jon Joyner’s Resume at time of Division Chief Application (a copy of which is attached as Exhibit
     2, attached to the Sworn Declaration of Jon P. Joyner, Exhibit U) & Exhibit P, Bullock’s Memorandum
     and Resume.
46
     Email thread between Christopher Bullock and Susan Bullock about Lateral Memo (a copy of which is
     attached as Exhibit M).
47
     Email thread between Banco, Bovino, and Hudson (a copy of which is attached as Exhibit N).
48
     Exhibit N at 3-4.
49
     Exhibit N at 3.


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named Richard Hudson.

       Mr. Bullock testified that he only considered applying for the Division Chief job because

Mr. Bovino asked him to do so, and so we now know the true reason Mr. Bovino wanted to cancel

the certification was because he had already recruited his preferred candidate – Mr. Bullock

(white). However, instead of stating his true intentions, Mr. Bovino gave Mr. Hudson a completely

pretextual reason:

       Rich,

       Gave it some thought, and I think it would be best to cancel the list and wait 90
       days. Rivet is acting Division Chief already and he can continue in that role. I don’t
       think the announcement received the attention it should’ve, and we will make
       more of an effort to recruit the right pool of candidates. How do I go about
       canceling the list at this point?50

       Based on that reason, Mr. Hudson agreed. On or about May 10 or 11, after talking with

Bovino, Acting CPA Banco cancelled the application.51 At some point thereafter, Mr. Bovino told

Mr. Joyner he would re-announce the Division Chief position at a later date. Based on that

misrepresentation, Mr. Joyner did not submit an “memorandum” request for the job like Mr.

Bullock eventually did.52 Of course, had Mr. Bovino honestly told Mr. Joyner he was accepting

memoranda requests, Mr. Joyner could have applied, but then Mr. Bovino would not have been

able to justify his selection of Mr. Bullock compared to Mr. Joyner’s far better qualifications.

       Four days later, on May 14, 2018, human resources staff for New Orleans Sector contacted

Mr. Bovino and asked when he would like to re-announce the Division Chief position.53 He never

responded.



50
    Exhibit N at 2.
51
    See Exhibit W, Doc. 75-1 at ¶ 22.
52
   See CSDMF at ¶ D-19.
53
    Email thread between Carol Kerr-Borne, Bovino, and Hudson at 2 (a copy of which is attached as
    Exhibit X).


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         On May 23, Mr. Bullock emailed Mr. Bovino a draft of his memorandum requesting

promotion to the Division Chief position.54 On May 24, Mr. Bovino and Mr. Bullock traded

several emails discussing the best language to use for the memorandum request so that

Headquarters would approve Mr. Bovino’s selection of Mr. Bullock.55

         At no time did Mr. Bovino tell either Acting CPA Banco or Chief Hudson that Mr. Bovino

secretly wanted to recruit Mr. Bullock for the Division Chief position. At no time did Mr. Bovino

admit that his proffered explanation for the cancellation—that he wanted to recruit a large pool of

applicants—was mere pretext for his desire to recruit Bullock.

         During the initial EEO investigation into Mr. Williams’s claim of race-based

discrimination, EEO investigators asked Mr. Bovino by email how Mr. Bullock could have learned

about the Division Chief opening in the first place.56 Mr. Bovino offered no explanation and did

not disclose that he, himself, secretly recruited Mr. Bullock to apply for the position.57

         Fast-forwarding a few weeks, Mr. Bovino and Mr. Bullock had agreed that Mr. Bullock

would wait to formally submit his request for promotion until after Mr. Bovino entered on duty.58

Mr. Bovino entered on duty on July 9, 2018. That same day, Mr. Bullock emailed Mr. Bovino his

official request to be promoted to the Division Chief vacancy at New Orleans Sector.59 That same

day, Mr. Bovino emailed Chief Hudson and others, formally requesting permission to promote Mr.

Bullock to the Division Chief position.60 Once again, at no time did Mr. Bovino indicate to Mr.



54
     Email between Bovino and Bullock Discussing Memo Containing Confederate Meme at 3 (a copy of
     which is attached as Exhibit O).
55
     See Exhibit O.
56
     Email between Ahmad Zadah and Bovino (a copy of which is attached as Exhibit Y).
57
     See Exhibit Y.
58
     See Exhibit W, Doc. 75-1 at ¶ 74 (citing to Bullock Dep. at 148:10-19).
59
     See Exhibit W, Doc. 75-1 at ¶ 75.
60
     Bovino's July 9 Lateral Reassignment Request Email to Hudson (a copy of which is attached as Exhibit
     Z).


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Hudson or anyone else that he had secretly recruited Mr. Bullock to apply for the position or

coached him on the preferred language to use in his memorandum.

          Ultimately, Mr. Bovino never re-announced the Division Chief position after he explicitly

told Mr. Hudson and Mr. Joyner that he would do so.61 Mr. Bovino never told anyone at New

Orleans Sector that he was accepting private memorandum for the Division Chief promotion.62

During his deposition, former Acting CPA Banco testified that when Bovino revealed to him his

intent to select Bullock over Williams, Joyner, and the other interviewees, Mr. Banco strongly

encouraged Mr. Bovino to at least compare the credentials of the potential candidates first.63 Mr.

Banco testified that Mr. Bovino refused.64 During his testimony, Mr. Banco candidly admitted

that it was clear Mr. Bovino favored Mr. Bullock during the selection process.65

          During his deposition, Mr. Bovino admitted that he, in fact, selected Mr. Bullock over Mr.

Joyner for the Division Chief promotion.66 Mr. Bovino admitted that he could have selected Mr.

Joyner for the position had he wanted to, but he preferred Bullock and so he chose him instead.67

          Finally, at the time of Mr. Bullock’s selection, it was USBP policy that a selecting official

chose an alternate candidate for promotion in cases where the primary candidate could not clear

the vetting process for promotion, or otherwise declined the promotion after the fact.68 Mr. Bovino

admits during his deposition that he did not select an alternate for the Division Chief promotion,


61
     Bovino Dep. in Williams at 82:17-20.
62
     Bovino Dep. in Williams at 156:17-21.
63
     Deposition of Joseph Banco, November 16, 2020, at 86:21-89:7 (excerpts of which are attached as
     Exhibit K).
64
     Id.
65
     Banco Dep. at 165:8-15 (Q . . . .you do admit that you believe, now that you've looked at this evidence,
     that Mr. Bovino clearly favored Mr. Bullock and that's why he selected Mr. Bullock over Mr. Joyner
     and Mr. Williams for the division chief of operational programming position in New Orleans sector.
     Correct? A Correct.).
66
     Bovino Dep. in Williams at 267:5-268:10.
67
     Id.
68
     Deposition of Brian Hastings in Williams, November 6, 2020, at 89:13-90:11 (excerpts of which are
     attached as Exhibit Q).


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despite the fact that Mr. Joyner (and Mr. Williams) were objectively qualified for the position.69

E.     Mr. Bullock Sent Mr. Bovino Racially Charged Emails During the Time in Question

       Referring back to the email chain between Mr. Bovino and Mr. Bullock on May 23, 24,

and 25, 2018, Mr. Bullock concluded the correspondence by creating and sending Mr. Bovino a

“meme” after the two had finalized their plans to select Mr. Bullock as the next Division Chief of

New Orleans Sector.70 Bullock’s meme suggested Mr. Bovino was a confederate war general who

was coming to rescue the rank-and-file USBP field agents of New Orleans Sector—who were

depicted as confederate soldiers rallied around a confederate battle flag—from the current New

Orleans Sector leadership, who were depicted as beleaguered union soldiers. These emails are

attached as Exhibit O.

       When Bovino received the email, he immediately responded “Oh jeez, DELETE!!!!!”71

but did not reprimand Bullock for sending the racially charged email or inquire why he had sent

it.72 During deposition, Mr. Bullock testified he sent the email to Bovino because Bovino was a

“history buff” who would think the email was funny.73 Mr. Bullock admitted the emails were

inappropriate,74 and stated that someone could look at the email and find it to be racially charged.75

During deposition, Mr. Bovino likewise admitted the email was inappropriate saying it was a waste

of government resources and “bogus” and “worthless”,76 but also denied that he perceived it as

racially charged.77 Mr. Bovino testified he did not believe the racially charged email warranted



69
    Bovino Dep. in Williams at 166:8-168:3.
70
    See Exhibit O, Email between Bovino and Bullock Discussing Memo Containing Confederate Meme.
71
    See Exhibit W, Doc. 75-1 at ¶ 73.
72
   See Exhibit W, Doc. 75-1 at ¶ 76.
73
   Bullock Dep. at 110:17-111:16.
74
   Bullock Dep. at 119:3-11.
75
   Bullock Dep. at 112:24-113:4.
76
   Bovino Dep. in Williams at 214:4-215:8.
77
   Bovino Dep. in Williams at 241:20-25.


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any further counseling, reprimand, or investigation.78

       That is not the perspective of USBP senior decision-makers, however. During deposition,

a former Directorate Chief and current Chief Patrol Agent, Brian Hastings, was shown this email

chain and confirmed that not only should Mr. Bovino have disciplined or referred Mr. Bullock for

investigation for sending the racially charged email, but that Hastings – now having seen the

images – had the official duty to report Bullock for the misconduct.79 During a second deposition,

Mr. Hastings confirmed that he ensured Mr. Bullock was, in fact, investigated for the misconduct.

       Separate and apart, when CBP lawyers identified the email during the course of document

production in this case, the agency attorney actually referred Mr. Bullock for investigation for

sending the racially charged email, and Mr. Bullock was in fact investigated and admonished to

not use government computer equipment for such purposes.80

       This was not the first bizarre or racially charged email that Bovino and Bullock had shared.

When Mr. Bovino and Mr. Bullock previously worked together in San Diego, the men shared

another meme depicting President Obama giving a State of the Union Address, with the heads of

Bovino and Bullock photoshopped over the heads of the Vice President and Speaker of the House

standing behind Mr. Obama.81 During deposition, neither man could explain the point of the

photograph or why it was shared.82 Mr. Bovino admitted however that he thought so highly of the

image that he kept a copy of it on his work computer to this day.83 Later, in August 2018, after

Mr. Bullock received authorization from USBP Headquarters for his promotion, he re-sent that


78
   Bovino Dep. in Williams at 220:12-224:21.
79
   Hastings Dep. in Williams at 113:1-114:4.
80
   See CBP Internal Investigation Report re Bullocks Confederate Emails (a copy of which is attached as
    Exhibit AA).
81
   Email thread between the Bullocks and Bovino containing Obama meme (a copy of which is attached as
    Exhibit BB).
82
   Bovino Dep. in Williams at 237:7-241:6 & Bullock Dep. at 134:2-137:23.
83
   Bullock Dep. at 126:2-25.


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same image to Mr. Bovino again. The imagine is included in Exhibit BB.

F.      Mr. Bovino Claimed He Did Not Know if Mr. Joyner Was a Black Man or a White
        Woman

        During deposition, Mr. Bovino was asked what race and sex he perceived Mr. Joyner and

Mr. Williams to be.84 Mr. Bovino said that he did not know.85 Mr. Bovino’s deposition was of

course long after he had met and worked with both men in New Orleans.86 And yet Mr. Bovino

testified that he could not personally tell the men’s races or sex.87 In a bizarre moment, Mr. Bovino

testified that he did not know if Mr. Joyner was a black man or a white woman. 88 Mr. Bovino

could offer no explanation for his inability to perceive that Mr. Joyner, a man with unambiguously

black skin, was in fact a black man.89

G.      USBP Has No Black or African American Agents in Senior Leadership Positions of
        Division Chief or Above

        Mr. Bovino’s admission that he has not promoted any Black or African American agents

to senior leadership positions accords with the statistical makeup of USBP leadership positions

generally because, statistically, USBP is segregated in senior leadership positions by race. Black

and African American agents comprise approximately 5% of all USBP agents. Likewise, in 2018,

there appear to have been zero black or African American agents who held the rank of Division

Chief or above at the Sector level anywhere in the United States.90 In fact, several current and

former USBP officials deposed in the case – including Mr. Bovino – admitted that Black and

African American agents are statistically underrepresented at USBP, but no one could offer a



84
   Bovino Dep. in Williams at 31:7-46:7.
85
   Id.
86
   Bovino Dep. in Williams at 31:7-46:7.
87
   Id.
88
   Id. at 42:16-43:23.
89
   Id. at 37:12-39:20.
90
   Plaintiff’s Complaint (Doc. 1) at ¶¶ 47-55.


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cogent reason why that would be so, other than USBP apparently fails to recruit Black and African

American people in the first place.91

                                             ARGUMENT

        USBP repeats the same arguments here that it made in the Williams case: Mr. Joyner cannot

demonstrate a prima facie case or produce enough evidence of pretext to create a triable issue of

material fact. Respectfully to defendant, these are specious arguments. Nothing in the discovery

record has improved USBP’s case since this Court denied USBP’s identical motion in Williams

more than six months ago. In fact, with respect to Mr. Joyner, the record evidence has improved

for plaintiff. Accordingly, USBP’s motion should be denied.

A.      All Evidence Must Be Viewed in Favor of Mr. Joyner

        Summary judgment is not proper unless the evidence “reflects no genuine issues of material

fact and the non-movant is entitled to judgment as a matter of law.” Crawford v. Formosa Plastics

Corp., 234 F.3d 899, 902 (5th Cir. 2000). In a discrimination case, summary judgment cannot be

granted when the defendant’s proffered reason for non-selection is “at least as consistent with

discriminatory intent as it is with nondiscriminatory intent[.] Patrick v. Ridge, 394 F.3d 311, 317

(5th Cir. 2004). In the Fifth Circuit, “[c]redibility determinations have no place in summary

judgment proceedings because non-movants’ summary judgment evidence must be taken as true.”

Waste Mgmt. of Louisiana, L.L.C. v. River Birch, Inc., 920 F.3d 958, 964 (5th Cir. 2019) (internal

quotes omitted). Instead, “[w]hen state of mind is an essential element of the nonmoving party’s

claim, it is less fashionable to grant summary judgment because a party’s state of mind is inherently

a question of fact which turns on credibility.” Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257,

1265 (5th Cir. 1991).


91
  See, e.g., Deposition of Richard Hudson, February 17, 2022, at 95:13-97:2 (excerpts of which are attached
as Exhibit G).


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B.     Mr. Joyner Establishes His Prima Facie Case as a Matter of Law

       Title VII of the Civil Rights Act of 1964 forbids an employer from discriminating against

any employee on account of the person’s race. 42 U.S.C. §2000e-2(a)(1). An employer illegally

discharges an employee based on his race when race is at least one of the factors motivating the

discharge. Richardson v. Monitronics Int’l, Inc., 434 F.3d 327, 333 (5th Cir. 2005); cf 42 U.S.C.

§ 2000e–2(m) (so providing). In a so-called “failure-to-promote” case, when direct evidence of

discrimination is not available, “a plaintiff establishes a prima facie case of race-based

discrimination by demonstrating that (1) she is a member of the protected class; (2) she sought and

was qualified for a position for which applicants were being sought; (3) she was rejected for the

position; (4) the employer hired a person outside of the plaintiff’s protected class or continued to

seek applicants with the plaintiff’s qualifications.” McMullin v. Mississippi Dep’t of Pub. Safety,

782 F.3d 251, 258 (5th Cir. 2015) (emphasis added).

       Alternatively, “[s]tatistical evidence is also of central importance in a disparate treatment

case[,]” and an employee may prove her prima facie case statistically “if gross statistical disparities

in the composition of an employer's work force can be shown.” Pouncy v. Prudential Ins. Co. of

Am., 668 F.2d 795, 802 (5th Cir. 1982). Specifically, when “the statistical showing is sufficiently

strong in a disparate treatment action, [an employee’s] prima facie case can be made without

additional evidence establishing that defendant purposefully treated minorities protected under

Title VII less favorably than other persons.” Id. “If statistical evidence is insufficient to establish

discriminatory intent, [employees] may bolster their case by introducing historical, individual, or

circumstantial evidence.” Anderson v. Douglas & Lomason Co., Inc., 26 F.3d 1277, 1285 (5th

Cir. 1994).

       In this case, USBP admits that Mr. Joyner is a member of a protected class (race) and that




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a member outside his class was selected for the Division Chief promotion. Instead, USBP argues

that Mr. Joyner did not “apply” for the Division Chief position (Doc. 109-1 at 16) and so “Joyner

cannot show that he was rejected for the position.” Id. This is a bizarre argument unsupported by

the record evidence. There is no dispute Mr. Joyner applied for the Division Chief job via

USAJobs announcement no. USBP-IMP-10168092-JRB. There is no dispute Mr. Joyner was

initially scored by ACPA Banco and DCPA Pedregon and offered an interview for the position.

There is no dispute Mr. Bovino cancelled the announcement which Mr. Joyner and Mr. Williams

had applied under. There is no dispute Mr. Bovino obtained approval from USBP headquarters to

cancel the position by misrepresenting his reasons for wanting to do so. Most importantly, Mr.

Bovino admits that he could have selected Mr. Joyner (or Mr. Williams) for Division Chief instead

of Mr. Bullock, but Mr. Bovino simply chose not to.

       USBP’s argument that Mr. Joyner “did not apply” for the Division Chief position and

therefore could not have been “rejected” for the position is Kafkaesque. Mr. Bovino explicitly

admitted during his deposition that he rejected Mr. Joyner for the job in favor of Mr. Bullock.

More fundamentally, USBP’s argument that Mr. Joyner “did not apply” for the Division Chief

position because Mr. Bovino purposefully cancelled the list specifically to deprive Mr. Joyner the

opportunity to compete for the job is just an artful way of arguing that federal agencies should be

legally permitted to discriminate against employees so long as they do cleverly and in secret. Title

VII was not designed to be circumvented by such shenanigans.

       Whatever hyper-technical or bureaucratic reading USBP attempts to give the phrase

“qualified” in the Title VII context, Mr. Joyner has met it in this case. USBP cannot now shield

itself from Title VII liability because its officer, Gregory Bovino, secretly recruited a white

comparator for promotion and then purposefully cancelled Mr. Joyner’s timely-submitted




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application while purposefully misleading Mr. Joyner and USBP leadership to prevent Mr. Joyner

from competing against Mr. Bullock. USBP cites no case law in support of this stretched argument

and devotes no more than about one page of briefing to it. See Doc. 109-1 at 16.

C.     Mr. Bovino’s Proffered Reason for Selecting Mr. Bullock Is Legally Insufficient

       Once the plaintiff establishes his prima facie case, the burden of production shifts to the

defendant to put forward a non-discriminatory justification for its adverse employment decision.

St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 507 (1993) (emphasis in original) (internal citations

omitted). The defendant “must clearly set forth, through the introduction of admissible evidence,

reasons for its actions which, if believed by the trier of fact, would support a finding that unlawful

discrimination was not the cause of the employment action.” Id. (emphasis in original).

       An employer’s subjective reason for not selecting a candidate, such as a subjective

assessment of the candidate’s qualifications, may serve as a legitimate, nondiscriminatory reason

for the candidate’s non-selection. Alvarado v. Texas Rangers, 492 F.3d 605, 616-17 (5th Cir.

2007). “Such a reason will satisfy the employer’s burden of production, however, only if the

employer articulates a clear and reasonably specific basis for its subjective assessment.” Id. The

test is whether the employer “frame[s] the factual issue with sufficient clarity so that the plaintiff

will have a full and fair opportunity to demonstrate pretext.” Texas Dep’t of Cmty. Affairs v.

Burdine, 450 U.S. 248, 255-56 (1981).

       More specifically, in the Fifth Circuit, a federal agency’s proffered reason that the plaintiff

was not selected for a job because he was not “sufficiently suited” is an insufficient reason “as a

matter of law” because, in the absence of objective corroboration or plausible reasoning, “[t]he

employer just might have found the candidate ‘not sufficiently suited’ because of a protected trait

such as age, race, or engaging in a protected activity.” Patrick v. Ridge, 394 F.3d 311, 317 (5th




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Cir. 2004) (emphasis in original).

       In Alvarado, supra, the plaintiff, a woman, sued the Texas Department of Public Safety

(“DPS”) for promoting several men to the coveted Texas Rangers Division instead of her. 492

F.3d at 609. DPS defended by pointing out it interviewed Ms. Alvarado along with all other

applicants, and DPS assessed that Ms. Alvarado was less qualified than the men DPS selected. Id.

at 616-18. It was true that DPS interviewed all the applicants and gave them scores based on their

interview answers. It was true that Ms. Alvarado scored 29th among all applicants. Nevertheless,

plaintiff argued that because DPS failed to credibly explain why it awarded Ms. Alvarado those

scores, and because DPS failed to objectively explain why she was less qualified than her male

comparators, DPS failed to proffer a credible reason for her non-selection (pretermitting a pretext

analysis under the McDonnell Douglas standard). Id. The Fifth Circuit agreed:

       Without some indication of the factual basis or specific reasons for Alvarado’s
       interview score, the score says nothing about whether her non-selection for the
       Rangers was the product of intentional sex discrimination. Instead, the score “is at
       least as consistent with discriminatory intent as it is with nondiscriminatory
       intent” because Alvarado may well have received the relatively low interview
       score on account of her sex . . . . To the extent DPS asserts on appeal that Alvarado
       did not receive an appointment to the Rangers because she was not the among the
       best qualified candidates, this assertion is also insufficient to satisfy DPS’s burden
       of production . . . . Without evidence of the candidates’ relative qualifications,
       the mere assertion that DPS hired the best qualified candidates is insufficient
       to satisfy its burden of production, as it does not afford Alvarado “a full and
       fair opportunity to demonstrate pretext.”

Id. at 617-18 (emphasis added).

       Finally, the Fifth Circuit holds that a federal-agency employer may not proffer it selected

the “best qualified candidate” for a job unless it can show that – at the time it failed to select the

plaintiff – the employer “already knew that the ultimately selected individual’s qualifications were

superior.” Patrick, supra, 394 F.3d at 318. In Patrick, the Fifth Circuit reversed summary

judgment in favor of the plaintiff-employee who was passed over by her federal employer in favor



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of another employee because, at the time the employer decided to reject the plaintiff’s application

for promotion, the eventual selectee had not even applied for the job. Id. The Fifth Circuit held

that “when an employer offers evidence of an otherwise legitimate, nondiscriminatory reason

which unmistakably demonstrates that it could not have motivated the employer to deny the

promotion to a qualified candidate, such an indisputable impossibility cannot satisfy the

employer's burden of production.” Id. at 318.

       The holdings of both Alvarado and Patrick are persuasive in this case. Here, it is

undisputed Mr. Joyner was qualified for the Division Chief position. It is undisputed Mr. Bovino

preferred Mr. Bullock and attempts to justify that preference by stating his opinion Mr. Bullock

was better qualified than Mr. Joyner (or Mr. Williams). But the Acting Chief Patrol Agent of New

Orleans Sector at the time, Joe Banco, testified in the Williams case that he urged Mr. Bovino to

at least compare the credentials of Mr. Bullock to Mr. Joyner, Mr. Williams, and the other

candidates, and Mr. Bovino refused. Mr. Bovino himself testified that he did not compare the

credentials of the men prior to cancelling the Division Chief announcement and recruiting Mr.

Bullock.

       On these facts, USBP fails to offer any credible or legitimate reason for passing over Mr.

Joyner and Mr. Williams in favor of Mr. Bullock. Mr. Bovino claims that Mr. Bullock was the

“best qualified” for the job, but, without comparing the candidates, Mr. Bovino’s subjective beliefs

are “at least as consistent with discriminatory intent as [they are] with nondiscriminatory intent”

because Mr. Bovino may have simply found Mr. Bullock preferable because of his race. Alvarado,

supra, at 617-618.

       In its motion for summary judgment, USBP offers many declarations from witnesses who

– after Mr. Bullock was selected and after Mr. Joyner sued for race-based discrimination – now




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claim that Mr. Bullock was more qualified than Mr. Joyner. First, the objective scoring and

resumes in the case strongly suggest Mr. Joyner was clearly more qualified than Mr. Bullock. But,

second, the post hoc assessments of USBP management cannot transform Mr. Bovino’s admitted

failure to compare the credentials of Mr. Joyner and Mr. Bullock before cancelling Mr. Joyner’s

application to a sufficient justification under the McDonnell Douglas standard. Patrick, 394 F.3d

at 318. Assuming the Court agrees, USBP has failed to proffer a legitimate reason for Mr. Joyner’s

non-selection, and USBP’s motion for summary judgment must be denied.

D.     There Is Sufficient Evidence of Pretext for a Jury Trial

       For the sake of argument, assuming Mr. Bovino’s proffered reason for selecting Mr.

Bullock is minimally sufficient to carry USBP’s burden in the McDonnell Douglas framework

(which it is not), the plaintiff “must be afforded the opportunity to prove by a preponderance of

the evidence that the legitimate reasons offered by the defendant were not its true reasons, but were

a pretext for discrimination.” Texas Department of Community Affairs v. Burdine, 450 U.S. 248,

256 (1981).     A plaintiff proves discriminatory intent either directly by showing that a

discriminatory reason more likely motivated the employer’s decision, or by indirectly showing the

employer’s explanation is not worthy of credence. Id. In non-selection cases, a fact-finder may

also infer discriminatory intent when the plaintiff was “clearly better qualified” than the promoted

comparator. EEOC v. La. Office of Cmty. Servs., 47 F.3d 1438, 1444 (5th Cir. 1995).

       On this record, there is ample evidence Mr. Bovino’s stated reasons for selecting Mr.

Bullock were untrue; that the real reason was rooted in racial animus; and that Mr. Joyner was

clearly better qualified for the Division Chief position than Mr. Bullock.

       First, on May 9, after Mr. Bovino had already recruited Mr. Bullock, he contacted Chief

Hudson asking permission to cancel the Division Chief job announcement. In those May 9th




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emails, Mr. Bovino almost certainly misrepresented his reasons for wanting to cancel the

competitive list:

        Rich,

        Gave it some thought, and I think it would be best to cancel the list and wait 90
        days. Rivet is acting Division Chief already and he can continue in that role. I don’t
        think the announcement received the attention it should’ve, and we will make
        more of an effort to recruit the right pool of candidates. How do I go about
        canceling the list at this point? (emphasis added)

        Mr. Bovino never re-announced the job. The record evidence suggests he never intended

to. Just two weeks later, starting on May 23, Bovino and Bullock began secretly collaborating by

email regarding the specific language Bullock should use in his official memorandum to Mr.

Bovino and USBP headquarters requesting promotion to the Division Chief position. Mr. Bovino

never revealed these plans to anyone until after Mr. Joyner and Mr. Williams filed their Charge of

Discrimination (and, even then, it appears Mr. Bovino did not reveal the truth to the EEO

investigator assigned to the file).

        Likewise, Mr. Bovino’s proffered reason that Mr. Bullock was the best qualified candidate,

or that Mr. Bovino was concerned that New Orleans Sector staff were not respecting his status as

the incoming CPA, or that Mr. Bovino simply wanted to have one of his “own people” on staff are

not worthy of credence because Mr. Bovino never suggested any of these theories at the time he

selected Mr. Bullock, but only after his motives were questioned in this litigation. Mr. Bovino’s

proffered reasons are not worthy of credence because those reasons are inherently unbiased – in

other words, there is no plausible reason that Mr. Bovino would not have simply shared these

thoughts with Chief Hudson, Acting CPA Banco, or Mr. Joyner himself if they had been true. To

date, Mr. Bovino himself has never offered an explanation for why he did not justify his actions at

the time by simply telling the parties his post-litigation, post hoc “concerns.” The record evidence




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suggests this is because Mr. Bovino came up with these reasons only after Mr. Joyner (and Mr.

Williams) filed their Charges of Discrimination in this case.

       Second, Mr. Bovino admits he selected Mr. Bullock for the Division Chief position even

after, on May 23, 2018, Mr. Bullock sent Mr. Bovino obviously racially charged emails that

depicted Mr. Bovino as a confederate war general, the rank-and-file agents assigned to New

Orleans Sector as confederate soldiers, and the current New Orleans Sector leadership (including

Teresa Pedregon, a Hispanic woman; Mr. Joyner, a black man; and Mr. Williams, a black man) as

beleaguered Union soldiers. Mr. Bovino clearly recognized the email was inappropriate for work,

and told Mr. Bullock to delete it, but did not take any further action. At least two objective,

independent CPB employees in this case have since seen these emails. CBP’s legal counsel

referred Mr. Bullock for investigation for passing racially charged emails at work, and fellow CPA

and former Directorate Chief Brian Hastings testified he felt compelled to do likewise.

Furthermore, multiple witnesses in this case, including Mr. Bovino, admit that Black and African

American agents are statistically underrepresented within USBP, although the witnesses can offer

no plausible explanation for why. These facts, taken in the light most favorable to Mr. Joyner,

suggest that racial animus (or racial preference) was the real reason Mr. Bovino selected Mr.

Bullock over Mr. Joyner.

       Finally, taken in the light most favorable to Mr. Joyner, the facts, objective scoring, and

relative work history of Mr. Joyner compared to Mr. Bullock confirm that Mr. Joyner was clearly

better qualified for the Division Chief job. Mr. Joyner scored 41 points compared to Mr. Bullock’s

22 points on the Kepner-Tregoe exam used during this litigation. Mr. Joyner had held objectively

higher ranked positions than Mr. Bullock. Mr. Joyner had served in a high-ranking capacity as an

Acting Assistant Patrol Agent in Charge of Tucson Station in Tucson Sector, directly supervising




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hundreds of USBP agents and supervisory personnel. Mr. Joyner had also, previously, directly

supervised Mr. Bullock while serving at Tucson Station.

E.     Conclusion

       In the end, USBP brings nothing new to the evidentiary table since the last time this Court

denied USBP’s essentially identical motion for summary judgment in the Williams case. Mr.

Joyner easily establishes his prima facie case, while Mr. Bovino fails to offer a legally sufficient

reason for selecting Mr. Bullock over Mr. Joyner to carry USBP’s intermediate burden in the

McDonnell Douglas analysis. Even if he had, the only plausible reason for Mr. Bovino’s selection

– on this record, construing the evidence in the light most favorable to Mr. Joyner – is that Mr.

Bovino preferred Mr. Bullock to Mr. Joyner (and Mr. Williams) because of their race.

Accordingly, defendant’s motion for summary judgment should be denied.

                                              Respectfully submitted:

                                              /s/ Kevin S. Vogeltanz
                                              Kevin S. Vogeltanz, TA (Bar #32746)
                                              Alec W. Szczechowski (Bar #38422)
                                              The Law Office of Kevin S. Vogeltanz, LLC
                                              823 Carroll Street, Suite A
                                              Mandeville, LA 70448
                                              Telephone: (504) 275-5149
                                              Facsimile: (504) 910-1704
                                              Email: vogeltanz@gmail.com

                                              Attorneys for plaintiff Jon Joyner

                             LOCAL RULE 5.4 CERTIFICATION

        Pursuant to Local Rule 5.4, no certificate of service is required for this motion because all
parties are electronic filers and will receive notice through the court’s electronic filing system.

                                              /s/ Kevin S. Vogeltanz




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